
42 P.3d 1278 (2002)
145 Wash.2d 1032
Rebecca HAMM, Petitioner,
v.
STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, Respondent.
No. 70204-7.
Supreme Court of Washington.
April 2, 2002.

ORDER
Department II of the Court (Justice Owens did not sit, Justice Madsen sat in her place) considered this matter at its April 2, 2002, Motion Calendar, and unanimously agreed that the following order be entered.
IT IS ORDERED:
That the Petition for Review is granted and remanded to the Court of Appeals for reconsideration in light of Winters, 144 Wash.2d 869, 31 P.3d 1164 (2001).
